
PER CURIAM.
We have for review the decision in Searles v. State, 816 So.2d 793 (Fla. 2d DCA 2002), which expressly and directly conflicts with this Court’s decision in Cardenas v. State, 867 So.2d 384 (Fla.2004), on the harmless error analysis to be applied in DUI cases in which an instruction on the statutory presumption of impairment is given in error. We have jurisdiction. See art. V, § 3(b)(3), Fla. Const. We accept this ease for review, quash the decision of the Second District Court of Appeal, and -remand for reconsideration in light of our opinion in Cardenas.
It is so ordered.
PARIENTE, C.J., and ANSTEAD, LEWIS, CANTERO and BELL, JJ., concur.
WELLS and QUINCE, JJ., dissent.
